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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


                                             CASE №: 3:21-cr22(S2)-MMH-MCR

  UNITED STATES OF AMERICA,

  v.

  MATTHEW RAYMOND HOOVER.

                                                         /
             DEFENDANT MATTHEW RAYMOND HOOVER’S
                   SENTENCING MEMORANDUM

        While Defendant respectfully disagrees with the conclusions of the jury

  and this honorable court, he recognizes that he stands convicted of several

  serious offenses. What’s concerning, though, is the government’s attempt to

  depart from the guidelines to convert an already potentially multi-year

  sentence to a multi-decade sentence for a man who stands convicted of talking

  about laser etchings on a homogenous piece of steel.

        This is not to detract from the fact that the jury found that such

  homogenous pieces of steel were “a combination of parts,” Defendant

  understands this is not the time to raise that issue again, but it does shine

  light on just how incredibly far Defendant’s conduct is from the “heartland” of

  cases contemplated by the applicable guidelines.




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          Perhaps unintentionally highlighting the extreme disparity between the

  convictions here at issue and the gun crime heartland, the government points

  to the horrific slaying of 60 human beings in the 2017 Las Vegas massacre.

  Defendant feels at least two counterpoints are necessary to address the

  inappropriateness of this allusion drawn by the state: One, that “[t]here are no

  identifiable victims in these offenses”, Doc. 314, ¶ 46; and two, the 2017

  massacre did not involve a machinegun, although that didn’t stop the

  government from familiarly insisting otherwise. See Cargill v. Garland, 57 F.

  4th 447 (5th Cir. 2023) (Holding that the rule of lenity precluded the

  enforcement of an administrative rule manufacturing a new category of

  machineguns, and that legislation was the only way to ban bump stocks).

     I.     § 2K2.1 Does Not Support Greater than A Base Level of 12

          The government spills no shortage of ink on suggesting that Defendant’s

  conduct should be subject to an enhancement for both trafficking and in the

  number of firearms. This error is most easily explained by a failure to grasp

  that §5845(a) “firearms” include things that both are and are not firearms both

  in common parlance and the § 921(a)(3) context, which is much closer to the

  common use of the term. Following the logic of other cases, and of the PSR, §

  2K2.1(a)(5) does not apply, making the base level 12 under § 2K2.1(a)(7), and

  potentially 6 given no dangerous use of firearms occurred, reducing the level

  to 6. U.S.S.C. § 2K2.1(b)(2).


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        The government cites Unites States v. Hixon to support both its

  argument for a 10-point enhancement, and for an upwards deviation. 624

  F.Supp.3d 930 (N.D. Illinois, W. Div, 2022). This is because it is the only

  published case counsel are aware of even purporting to address § 2K2.1 in the

  context of a machinegun conversion device. Hixon dealt with a repeat felonious

  offender’s sale and distribution of “Glock switches,” which are designed solely

  and exclusively to convert a Glock-style handgun into a machine pistol, while

  the defendant was on parole. Even there, where the district court felt the

  defendant had “a propensity for criminal conduct, often very serious criminal

  conduct[,]” id. at 941, it still refused to contort § 2K2.1 the way the government

  there requested, as it does here. The Hixon defendant base level was 20 under

  § 2K2.1 because it involved a prohibited possessor with a firearm capable of

  accepting a large capacity magazine, not because of § 2K2.1(a)(5). That isn’t

  the case here.

        There is a much simpler, cleaner analysis here: the word “firearm” on its

  own is plainly ambiguous, hence why the guidelines provide a specific

  definition. Federal law has multiple divergent definitions of a firearm. It does

  not stand to reason that we abandon this reality in the context of § 2K2.1 to

  avoid looking at the comments which clearly solve the ambiguity. The firearms

  targeted by § 2K2.1—§ 921(a)(3) firearms—are instruments that have a

  capacity to project force. The operative part of the guidelines firearm definition


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  is “any weapon [] which will or is designed to [] expel a projectile by the action

  of an explosive”. In serving as an enhancement under the guidelines, §

  2K2.1(a)(5) points to a “firearm that is described in 26 U.S.C. § 5845(a)”. The

  government would have this court delete the comment defining firearm and re-

  write § 2K2.1(a)(5) to “’firearm’ as defined in 26 U.S.C. § 5845(a)”. Doing such

  would render § 2K2.1(b)(3) mere surplusage, as the guidelines refer to specific

  § 5845(a) “firearms” in later sections—all of which are § 921(a)(3) firearms—

  and to ignore this would violate the canon of expressio unius est exclusio

  alterius. The guidelines drafters knew how to reference federal law—it very

  clearly does so in the comments, in a way which resolves this issue in a clean

  and logical manner. § 2K2.1(a)(5) applies where the offense involved a §

  921(a)(3) firearm that fits the §5845(a) definition of firearm—that being

  various concealable firearms, actual machineguns (which fire projectiles

  through the action of an explosive), silencers, and destructive devices. Not

  things that potentially could become or potentially could be installed into a §

  921(a)(3) firearm.

        The reason § 2K2.1 does not apply here is as simple as it is logical, “the

  relevant guideline clearly intended to punish innocent possession and use of a

  firearm less severely, and improper use more severely.” U.S. v. Jones, 158 F.3d

  493, 501 (10th Cir. 1998) (emphasis added). The relevant part of the guideline

  refers to firearms as we would understand them in common parlance—the §


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  921(a)(3) firearms—because of their acute capacity to project force, and cause

  harm if used improperly. This is obvious from the guidelines, the comments,

  and numerous citing decisions. See U.S.S.G. § 2K2.1 (referring to violence four

  times in the first subsection).

           The convicted conduct here at issue is far from the heartland of

  machinegun cases, and far from §921(a)(3) firearms. For that reason, a base

  level of 6 is as high as the guidelines contemplate.

     II.      Instant Circumstances Warrant a Downward Departure

           As Congress recognized in the Sentencing Reform Act, “it is difficult to

  prescribe a single set of guidelines that encompasses the vast range of human

  conduct potentially relevant to a sentencing decision.” Hence, flexibility to

  permit     “individualized   sentences   when   warranted    by   mitigating   or

  aggravating factors not taken into account in the establishment of general

  sentencing practices.” 28 U.S.C. § 991(b)(1)(B).

           In accordance with §5K2.0, a court may depart from the applicable

  guideline range if it finds a mitigating circumstance “of a kind, or to a degree,

  not adequately taken into consideration . . . in formulating the guidelines that,

  in order to advance the objectives set forth in 18 U.S.C. § 3553(a)(2), should

  result in a sentence different from that described.” This departure provision

  reflects the fact that the guidelines are designed to account for offenses that

  fall in the “heartland” of the offense type, but that conduct or circumstances


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  may make an individual offense fall outside of that “heartland.” USSG Ch.1,

  Pt.A(1)(4)(b).

        As previously alluded, the underlying conduct at issue couldn’t be

  further from the “heartland” of machinegun cases and gun crime. “[T]he

  purpose of Firearms Act, of which § 5861 is a part, is to go after crime

  weapons,” not tchotchkes or cards into which were allegedly etched a design.

  See U.S. v. Vest, 448 F. Supp. 2d 1002, 1014 (S.D. Ill. 2006). As this Court wrote

  in its Order Denying Defendant’s Motion for Judgment of Acquittal “[w]hether

  Defendants transferred a “combination of parts” may not have been obvious in

  this particular case.” Doc. 310. This case is also far from Hixon, where the

  defendant was openly selling machinegun conversion devices, while on parole

  for a separate felony. Defendant knows that this is not the stage to re-litigate

  whether or not the Auto Key Card was a machinegun, but it serves §5K2.0’s

  purpose to point out that firearms law is in an incredible state of flux, and a

  reasonable person could be confused as to whether the underlying items were

  regulated at all. 1

        While “not ordinarily relevant,” the Commentary to §5H1.6 suggests that

  a departure for family ties and responsibilities is warranted in special




  1 Defendant feels it necessary to highlight regulated, as machineguns are

  not, and never have been prohibited, as the government contends without
  citation.

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  circumstances like those here at bar, where Defendant’s daughter is suffering

  acute episodes in addition to the loss of the familial figurehead, this, taken into

  account with the relative seriousness of the offense conduct and the innocence

  of the affected family, may justify a downward departure to avoid “a

  substantial, direct, and specific loss” of essential caretaking and financial

  support to the defendant’s family.

        Additionally, Defendant Hoover was not shy about his involvement with

  Auto Key Cards and his sponsorship relationship with his co-defendant. Much

  of trial time was spent reviewing Defendant’s public statements, and he was

  open with law enforcement about his involvement with co-defendant. Of

  course, this is because Defendant did not believe he was in violation of the law,

  but his conduct in being open and cooperative certainly falls within the spirit

  of §5K2.16, which further justifies a downward deviation.

        Most importantly, Hoover is far from the parolee repeat offender in

  Hixson. He has no significant criminal history whatsoever, and if his conduct

  can be described as anything within the guidelines, it would certainly be

  “aberrant behavior” under §5K2.20. The §5K2.20 factors are met because 1)

  Defendant did not significantly plan or obfuscate anything, largely because he

  did not believe he was violating the law, 2) only accepted the sponsorship for a

  limited time, and 3) the conduct “represents a marked deviation by the

  defendant from an otherwise law-abiding life.”


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     III.   Application of 18 U.S.C. § 3553(a) to the Record Before the
            Court Demonstrates that there Should be a Downward
            Departure from the Guidelines

        As this Court is aware, there are several factors to be considered when

  imposing a sentence on a defendant. See, e.g., United States v. Ortiz-Pérez, 30

  F.4th 107, 112 (1st Cir. 2022) (“It is the sentencing court’s prerogative—indeed,

  its duty—to ‘draw upon [its] familiarity with a case, weigh the factors

  enumerated     in   [section]   3553(a),       and   custom-tailor   an   appropriate

  sentence.’”(alterations in original) (quoting United States v. Flores-Machciote,

  706 F.3d 16, 20 (1st Cir. 2013))). When the Court weighs all the factors and

  reviews the character and history of the man and the crime to tailor the

  appropriate sentence, it will see that Defendant should be released based on

  credit for the time served. His offense was making YouTube videos to advertise

  a tchotchke.

     1) The Nature And Circumstances of The Offense And The History And
        Characteristics Of The Defendant

        The Nature and Circumstances Defendant’s YouTube Advertisements,

  at worst constituted a fringe, edge-case violation of the National Firearms Act.

  Given the nature and circumstances of Defendant’s offense, i.e., making and

  publishing YouTube videos that advertised the Auto Key Card, this factor

  supports mitigation of his sentence.“[T]he purpose of Firearms Act, of which §

  5861 is a part, is to go after crime weapons,” not tchotchkes or cards into which



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  purported auto sears were etched. See U.S. v. Vest, 448 F. Supp. 2d 1002, 1014

  (S.D. Ill. 2006). As this Court wrote in its Order Denying Defendant’s Motion

  for Judgment of Acquittal (ECF 310) “[w]hether Defendants transferred a

  “combination of parts” may not have been obvious in this particular case.” As

  trial, there was no evidence, testimony, or argument of counsel that the Auto

  Key Cards were “crime weapons,” i.e., used in the commission of any colloquial

  crime (like murder, robbery, or assault) as opposed to being conversation pieces

  that were then not registered on the National Firearms Registration and

  Transfer Record. At most, Defendant’s crime was advertising an item that the

  jury found technically violated the NFA. “It does not appear that this statute

  was designed to criminalize [YouTubers] even if they may be guilty of mere

  technical violations.” Vest, 448 F. Supp. 2d at 1011. This is far and away from

  the run-of-the-mill federal gun crime that involves violence, drugs, or human

  trafficking. (Contra ECF 313 P. 1 at n.1) (the Government describing the Las

  Vegas Massacre where 60 people were violently murdered). His sentence

  should be accordingly reduced to reflect the fringe, edge case nature of his

  technical violation of our federal code.

        Defendant and his persona on his YouTube Channel CRS Firearms are

  separate and distinct. One reflects his everyday demeanor and respect for the

  law while the other pays the bills by way of selling advertising space on his

  channel and producing entertaining videos. The substance of Defendant’s


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  conduct before his arrest, while awaiting trial, and during trial reflects that a

  downward variance is warranted. See United States v. Huckins, 529 F.3d 1312,

  1319 (10th Cir. 2008) (affirming downward variance based on defendant’s lack

  of significant criminal history, depression at the time of the offense, lack of

  repeat offending post-arrest, significant self-improvement while waiting to be

  prosecuted, and because the defendant was 20 years old when he committed

  the crime).

        First, Defendant’s previous criminal history constituted one instance of

  possession of marijuana back in 2006 (when he was merely 22 years old). ECF

  314 at P. 14. He has depression, suffers from panic attacks, and was otherwise

  experiencing hardship from being a working man in rural Wisconsin struggling

  to make a living in the midst of an unprecedented global pandemic. Id. at P.

  16 – 17 (“Before being a content creator on YouTube, the defendant worked as

  a truck driver (2012 through 2021) for Mike’s Trucking, his father’s business.

  He left the trucking industry to become a content creator. He earned .36 cents

  per mile.”). Furthermore, he did not violate the conditions of his pre-trial

  release, and otherwise did not offend again after he was arrested.

         Moreover, the PSI demonstrates that Defendant’s current incarceration

  is negatively impacting his family, i.e., resulting in his daughter—who has

  autism—to have “frustrated outbursts” since her father was remanded into

  custody. See ECF 314 at P. 15; United States v. Lehmann, 513 F.3d 805, 806,


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  809 (8th Cir. 2008) (affirming downward variance where the court found that

  a prison sentence would negatively affect the defendant’s disabled young son).

     2) the need for the sentence imposed to reflect the seriousness of the offense,
        to promote respect for the law, and to provide just punishment for the
        offense;

        As the Court hinted, this is an edge case given that “[w]hether

  Defendants transferred a “combination of parts” may not have been obvious in

  this particular case[,]” the sentence needs to reflect that it took an empaneled

  “jury [to find] that Defendants went too far and, rather than transferring mere

  art they were, in fact, transferring a combination of machinegun parts.” (ECF

  310 P. 21 – 22). The novel nature of the Government’s prosecution of Defendant

  resulted in a jury finding that Defendant technically violated the National

  Firearms Act by way of advertising the Auto Key Card on YouTube. Given this,

  the Court should look to the proportionality principle when imposing a

  sentence, i.e., the punishment should fit the crime. See e.g. J Feinberg, Doing

  and Deserving: Essays in the Theory of Responsibility (Princeton, NJ: Princeton

  University Press 1974) (“‘[T]he degree of disapproval expressed by the

  punishment should “fit” the crime . . . in the . . . sense that the more serious

  crimes should receive stronger disapproval than the less serious ones.’”).

        With the proportionality principle in mind, given the character of

  Defendant’s violation, the seriousness of the offense factor supports a

  downward variance of his sentence. Further, such a result would promote


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  respect for the law. Given the sizable media attention to this case, and the

  Government’s unprecedented attempts to squelch speech and censor third

  parties who were covering these proceedings and criticizing the United States

  Attorney’s Office, (ECF 296) the Court would send a message that while we

  live in a nation that follows the rule of law, given 18 U.S.C. § 3553(a) and

  Eighth Amendment, we do not “throw the book” at defendants in fringe cases

  where reasonable minds can, and manifestly do, differ.

     3) to afford adequate deterrence to criminal conduct; to protect the public;
        and to provide the defendant with cost effective treatment

        The deterrence factor also supports mitigation of Defendant’s sentence

  and a downward variance. This case presents a rather unique fact pattern.

  Defendant advertised the Auto Key Card, which is a singular piece of stainless

  steel with a drawing of an auto sear on it. An empaneled jury found it was a

  combination of parts designed and intended to convert a weapon to fire

  automatically, and therefore, the advertisements constituted a NFA violation

  because the Auto Key Cards were not registered in the NFRTR. As a result of

  the jury determination, the message to not sell items like it has been heard

  loud and clear, and has been echoed by the media. Defendant will not attempt

  to promote or sell the Auto Key Card, or other items like it after these

  proceedings (whether he is released from confinement in days or years). And




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  the public is generally now on notice that the Auto Key Card, and similar

  items, can land them in deep trouble.

        Defendant respectfully submits that similar logic applies to the “protect

  the public” factor. It should be noted that Defendant has not been accused of

  injuring any person by way of violence or fraud. There are no colloquial victims

  that suffered a concrete particularized injury as opposed to a general technical

  violation of the statute by way of his advertisements of the Auto Key Card. See

  Hunstein v. Preferred Collection & Mgmt. Servs., Inc., 48 F.4th 1236, 1242

  (11th Cir. 2022) (“A ‘bare statutory violation’ is not enough, no matter how

  beneficial we may think the statute to be.”) citing TransUnion LLC v. Ramirez,

  141 S. Ct. 2190, 2207, 210 L. Ed. 2d 568 (2021) (“[W]e cannot treat an injury

  as ‘concrete’ for Article III purposes based only on Congress's say-so.”).

  Defendant was not a danger and is not a violent or dangerous person. Thus,

  this factor falls squarely in his favor. And as to cost effective treatment for

  Defendant, he respectfully submits that the tax payer’s dollars could better be

  served by not having him remanded into federal custody.

     4) the kinds of sentence and the sentencing range established for the
        applicable category of offense committed by the applicable category of
        defendant as set forth in the guidelines

        According to the guidelines, with a properly calculated offense level of 6

  or 12, there is a wide range of options for this honorable court to select from,

  including parole, probation, supervised release, and the time he has already


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  served. See, e.g., United States v. Ruff, 535 F.3d 999, 1001, 1003 (9th Cir. 2008)

  (affirming variance to one day of imprisonment plus three years’ supervised

  release with a condition of twelve months and one day served at a corrections

  center that would permit the defendant to participate in work release, receive

  counseling, and make visits to his young son).

     5) any pertinent policy statement issued by the Sentencing Commission

        “Although the [g]uidelines range is one of seven factors listed in §

  3553(a), it is far more than that. A defendant’s [g]uidelines range is ‘the

  starting point and initial benchmark’ of sentencing, and ‘a district court should

  begin all sentencing proceedings by correctly calculating the applicable

  [g]uidelines range.” United States v. Burris, 29 F.4th 1232, 1237 (10th Cir.

  2022). “As a matter of administration and to secure nationwide consistency,

  the [g]uidelines should be the starting point and the initial benchmark” but

  courts must “consider all of the § 3553(a) factors” and “make an individualized

  assessment based on the facts presented.” Gall v. United States, 552 U.S. 38,

  49 – 50 (2007)

        In accordance with §5K2.0, a court may depart from the applicable

  guideline range if it finds an aggravating or mitigating circumstance “of a kind,

  or to a degree, not adequately taken into consideration by the Sentencing

  Commission in formulating the guidelines that should result in a sentence

  different from that described.” This departure provision reflects the fact that


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  the guidelines are designed to account for offenses that fall in the “heartland”

  of the offense type, but that conduct or circumstances may make an individual

  offense fall outside of that “heartland.” USSG Ch.1, Pt.A(1)(4)(b). “[T]he

  purpose of Firearms Act, of which § 5861 is a part, is to go after crime

  weapons,” not tchotchkes or cards into which were allegedly etched a design.

  See U.S. v. Vest, 448 F. Supp. 2d 1002, 1014 (S.D. Ill. 2006). As this Court wrote

  in its Order Denying Defendant’s Motion for Judgment of Acquittal (ECF 310)

  “[w]hether Defendants transferred a “combination of parts” may not have been

  obvious in this particular case.” Because this case involves a YouTuber who

  advertised an item that was not obviously a NFA item (and therefore

  technically needed to be registered), this case is far outside of the heartland of

  a typical case.

        Furthermore, §5K2.20 which is the Aberrant Behavior Policy Statement

  applies. The court may depart downward under this policy statement if the

  defendant committed a single criminal occurrence or single criminal

  transaction that (1) was committed without significant planning; (2) was of

  limited duration; and (3) represents a marked deviation by the defendant from

  an otherwise law-abiding life. Apart from a very minor instance involving

  marijuana in 2006. is the first time that Defendant has been on the wrong side

  of the law. As it played out at trial, the Auto Key Card affair was not cold-

  blooded or otherwise significantly planned out. Moreover, it did not last a


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  number of years—it was limited in scope and duration. And finally, it certainly

  is a marked deviation from Defendant’s law-abiding life insofar that he scored

  a zero for his criminal history score. This is the first time he has been in trouble

  of this nature. For those reasons, the Court should apply this factor in

  supporting a downward departure from his guidelines sentence.

        Indeed, the downward departure for the voluntary disclosure of the

  offense also applies to this case. (§5K2.16). Defendant told his local ATF Agent

  Miguel A. Ruiz about the Auto Key Card before he started advertising them.

  And he quite literally published everything pertaining to the Auto Key Card

  on the Internet for everyone (the Government included) to see. While

  Defendant respectfully disagrees with the jury’s ultimate conclusion that his

  actions constituted a crime, he has taken responsibility for his actions, i.e.,

  advertising the Auto Key Card. The Court should apply this downward

  departure factor in support of mitigation of his sentence.

     6) the need to avoid unwarranted sentence disparities among defendants
        with similar records who have been found guilty of similar conduct

        This is a novel case with unique facts. Defendant is unaware of

  defendants with similar records who have been found guilty of violating the

  NFA by way of advertising a product like the Auto Key Card. Respectfully,

  because of all of the arguments supra regarding how this is most likely the first

  type of prosecution of this nature, i.e., the Government brought criminal



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  charges against a defendant YouTuber for advertising an item that was not on

  the National Firearms Registry, this factor tends to support a downward

  variance of Defendant’s sentence to distinguish his violation from crimes that

  are in the heartland of NFA violations—like use of crime weapons to facilitate

  colloquial criminal activity. See U.S. v. Vest, 448 F. Supp. 2d 1002, 1014 (S.D.

  Ill. 2006) (“[T]he purpose of Firearms Act, of which § 5861 is a part, is to go

  after crime weapons,” not tchotchkes or cards into which purported auto sears

  were etched.)

     7) the need to provide restitution to any victims of the offense.

        At the bottom, there are no victims in this case—let alone any that have

  suffered any concrete particularized injury such that they are entitled to

  restitution from Defendant. See Hunstein v. Preferred Collection & Mgmt.

  Servs., Inc., 48 F.4th 1236, 1242 (11th Cir. 2022) (“The reason it matters

  whether Hunstein has alleged a concrete harm, rather than simply a statutory

  violation, is that federal courts have limited jurisdiction. Under the

  Constitution, we only have power to resolve “Cases” and “Controversies.” U.S.

  Const. art. III, § 2.”) citing TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2200,

  210 L. Ed. 2d 568 (2021) (“To have Article III standing to sue in federal court,

  plaintiffs must demonstrate, among other things, that they suffered a concrete

  harm. No concrete harm, no standing.”). This factor supports a downward

  variance in Defendant’s sentencing.


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                                 CONCLUSION

        For all of the reasons heretofore stated, Defendant believes that the time

  he has already served in the county detention center satisfies §3553(a). Beyond

  that, any further sentence need not be beyond supervised release.




   DATED: September 1, 2023
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                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 1, 2023 I electronically filed
  the foregoing document with the Clerk of the Court using CM/ECF. I also
  certify that the foregoing document is being served this day on all counsel of
  record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                     /s/Zachary Z. Zermay______
                                     Zachary Z. Zermay, Esq.




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